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                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF MONTANA

                               BUTTE DIVISION


UNITED STATES OF AMERICA,     )            CR 07-20-BU-DWM
                              )
          Plaintiff,          )
                              )
     vs.                      )            ORDER
                              )
JESSE DYKSTRA,                )
                              )
          Defendant.          )
______________________________)

     United States Magistrate Judge Jeremiah C. Lynch entered

Findings and Recommendation in this matter on September 11, 2007.

Neither party objected and therefore they are not entitled to de

novo review of the record.        28 U.S.C. § 636(b)(1); United States

v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).            This Court

will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d

1309, 1313 (9th Cir. 1981).        Clear error exists if the Court is

left with a “definite and firm conviction that a mistake has been

committed.”     United States v. Syrax, 235 F.3d 422, 427 (9th Cir.

2000).

     Judge Lynch recommended this Court accept Dykstra’s guilty

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plea after Dykstra appeared before him pursuant to Federal Rule

of Criminal Procedure 11, and entered his plea of guilty to the

charge of conspiracy to possess cocaine with intent to

distribute, in violation of 21 U.S.C. § 846, as set forth in

Count I of the Indictment.

     I find no clear error in Judge Lynch’s Findings and

Recommendation (dkt #83) and I adopt them in full.

     Accordingly, IT IS HEREBY ORDERED that Defendant Dykstra’s

motion to change plea is GRANTED.       Counts II and III of the

Indictment against Dykstra are DISMISSED.

     DATED this 25th day of September, 2007.




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